oO MON DB oT FP W WO HY

No NO NH NY WY NH YH DY DN Re HB ee ee eo el lL
oOrynenorm bh WN FY CO Ob WAN Da HR WwW OH OC

pase 2:19-cv-08314-PSG-MRW Document 35 Filed 10/26/21 Page1lofi Page ID#:73

IN THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

19-8314 PSG (M
MALAIKA H., Case No. CV 19-8314 PSG (MRW)

Plaintiff,
JUDGMENT

Vv.

KILOLO KIJAKAZI, Acting
Commissioner of Social Security,

Defendant.

 

 

Pursuant to the Order Accepting Findings and Recommendations of the
United States Magistrate Judge,

IT IS ADJUDGED that the decision of the Administrative Law J udge is
AFFIRMED. Judgment is hereby entered in favor of Defendant.

HON. PHILIP S. GUTIERREZ
CHIEF U. S. DISTRICT JUDGE

pate; 12242

 

 

 

 
